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IN THE UNITED sTATEs DISTRICT CoURT F-'\Li;a:r. . _, o.c.
FoR THE WESTERN DISTRICT oF TENNESSEE”
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) 1
THE cLARK coNsTRUCTIoN GROUP, INC. ) Cl-E{fjj_;;j~;, ’
) " ` ‘
Plaintirr, )
)
v. ) No. 01-2478 nv
)
EAGLE AMALGAMATED sEvacE, INC.; )
cAPIToL INDEMNITY coRPORATIoN; )
iNvEsTORs leURANCE coMPANY 0F )

AMERICA; FIRST SPECIALTY INSURANCE; )
LEXINGTON INSURANCE COMPANY; and )
RLI INSURANCE COMPANY, )

)
Defeodants. )
)

 

ORDER DENYING AS MOOT PLAINTIFF CLARK CONSTRUCTION GROUP LLC’S
MOTION FOR LEAVE TO FILE A SUPPLEMENTAL MEMORANDUM IN OPPOSITION
TO INVESTORS’ MOTION TO RECONSIDER, MODIFY, OR AMEND

 

Before the court is Plaintiff Clark Construction Group, LLC’ s (“Plaintifi”) motion for leave to
file a supplemental memorandum in opposition to Defendant lnvestors lnsurance Company of
Arnerica’ s (“Defendant”) motion to reconsider, modify, or amend. The issues raised in the motion now
before the Court were made moot by this Court’s August 3, 2005 Order granting Defendant’s motion

to reconsider. Accordingly, Plaintiff`s motion is DENIED as moot.

1T ls so om)ERED this j g day ofAugusr, 2005.

   
    

  

ICE OUIE DONALD
UNITED STATES DISTRICT JUDG

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 260 in
case 2:01-CV-02478 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

